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                   EXHIBIT 4
             (File Under Seal)
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                                                                      Page 1


                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK


                        CASE NO. 15-CV-07433-RWS


      ------------------------------------------x
      VIRGINIA L. GIUFFRE,


                                     Plaintiff,
      v.
      GHISLAINE MAXWELL,
                                     Defendant.


      -------------------------------------------x


                                     June 21, 2016
                                     9:17 a.m.


                        C O N F I D E N T I A L
            Deposition of JOSEPH RECAREY, pursuant
            to notice, taken by Plaintiff, at the
            offices of Boies Schiller & Flexner, 401
            Las Olas Boulevard, Fort Lauderdale, Florida,
            before Kelli Ann Willis, a Registered
            Professional Reporter, Certified Realtime
            Reporter and Notary Public within and
            for the State of Florida.




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                                                                      Page 29
 1                     JOSEPH RECAREY - CONFIDENTIAL
 2    Ghislane Maxwell?
 3          A.     I wanted to speak with everyone related to
 4    this home, including Ms. Maxwell.            My contact was
 5    through Gus, Attorney Gus Fronstin, at the time, who
 6    initially had told me that he would make everyone
 7    available for an interview.          And subsequent
 8    conversations later, no one was available for
 9    interview and everybody had an attorney, and I was
10    not going to be able to speak with them.
11          Q.     Okay.    During your investigation, what did
12    you learn in terms of Ghislane Maxwell's
13    involvement, if any?
14                 MR. PAGLIUCA:      Object to form and
15          foundation.
16                 THE WITNESS:      Ms. Maxwell, during her
17          research, was found to be Epstein's long-time
18          friend.     During the interviews, Ms. Maxwell was
19          involved in seeking girls to perform massages
20          and work at Epstein's home.
21                 MR. PAGLIUCA:      Object to form and
22          foundation.
23    BY MR. EDWARDS:
24          Q.     Did you interview -- how many girls did
25    you interview that were sought to give or that




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                                                                      Page 30
 1                     JOSEPH RECAREY - CONFIDENTIAL
 2    actually gave massages at Epstein's home?
 3                 MR. PAGLIUCA:      Object to form and
 4          foundation.
 5    BY MR. EDWARDS:
 6          Q.     Approximately.
 7                 MR. PAGLIUCA:      Same objection.
 8                 THE WITNESS:      I would say approximately
 9          30; 30, 33.
10    BY MR. EDWARDS:
11          Q.     And of the 30, 33 or so girls, how many
12    had massage experience?
13                 MR. PAGLIUCA:      Object to form and
14          foundation.
15                 THE WITNESS:      I believe two of them may
16          have been -- two of them.
17    BY MR. EDWARDS:
18          Q.     Okay.    And as we go through this report,
19    you may remember the names?
20          A.     Correct.     Let me correct myself.        I
21    believe only one had.
22          Q.     And was that -- was that one of similar
23    age to the other girls?
24                 MR. PAGLIUCA:      Object to form and
25          foundation.




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                                                                      Page 31
 1                     JOSEPH RECAREY - CONFIDENTIAL
 2                 THE WITNESS:      No.
 3    BY MR. EDWARDS:
 4          Q.     Okay.    The one with massage experience was
 5    older?
 6                 MR. PAGLIUCA:      Object to form and
 7          foundation.
 8                 THE WITNESS:      Correct.
 9    BY MR. EDWARDS:
10          Q.     The remainder of the 30 girls that went to
11    this house for the purposes of massage or recruited
12    for massage, is it my understanding that they had no
13    massage experience?
14                 MR. PAGLIUCA:      Object to form and
15          foundation.
16                 THE WITNESS:      That's correct.
17    BY MR. EDWARDS:
18          Q.     And were the majority of those girls that
19    you interviewed over or under the age of 18?
20                 MR. PAGLIUCA:      Object to form and
21          foundation.
22                 THE WITNESS:      The majority were under.
23    BY MR. EDWARDS:
24          Q.     And how was it that Mr. Epstein gained
25    access to that number of underaged girls?




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                                                                      Page 32
 1                     JOSEPH RECAREY - CONFIDENTIAL
 2                 MR. PAGLIUCA:      Object to form and
 3          foundation.
 4                 THE WITNESS:      Each of the victims that
 5          went to the home were asked to bring their
 6          friends to the home.        Some complied and some
 7          didn't.
 8    BY MR. EDWARDS:
 9          Q.     Okay.    So the victim would come to the
10    home and could give a massage and get paid for it;
11    is that right?
12                 MR. PAGLIUCA:      Object to form and
13          foundation.
14                 THE WITNESS:      Correct.
15    BY MR. EDWARDS:
16          Q.     And at the end of that massage, if that
17    victim brought other friends, she would get paid for
18    the recruitment of those friends?
19                 MR. PAGLIUCA:      Object to form and
20          foundation.
21                 THE WITNESS:      Correct.
22    BY MR. EDWARDS:
23          Q.     Additionally, did your investigation
24    reveal that the assistants of Jeffrey Epstein would
25    call and set up for these girls to come over to the




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                                                                      Page 33
 1                     JOSEPH RECAREY - CONFIDENTIAL
 2    house for the massages?
 3                 MR. PAGLIUCA:      Object to form and
 4          foundation.
 5                 THE WITNESS:      Correct.
 6    BY MR. EDWARDS:
 7          Q.     And, as well, certain people that were
 8    friends or girlfriends or assistants of Jeffrey
 9    Epstein would recruit girls under the pretense of
10    giving a massage?
11                 MR. PAGLIUCA:      Object to form and
12          foundation.
13                 THE WITNESS:      Correct.
14    BY MR. EDWARDS:
15          Q.     Is that what your investigation revealed
16    in terms of the system of getting these girls over
17    to the house?
18                 MR. PAGLIUCA:      Object to form and
19          foundation.
20                 THE WITNESS:      Yes.
21    BY MR. EDWARDS:
22          Q.     Okay.    Talking about the massages, when --
23    when these -- the various girls that you interviewed
24    described the massages, was there a pattern of what
25    occurred during these massages?




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                                                                      Page 34
 1                     JOSEPH RECAREY - CONFIDENTIAL
 2                 MR. PAGLIUCA:      Object to form and
 3          foundation.
 4                 THE WITNESS:      Yes, there was.
 5    BY MR. EDWARDS:
 6          Q.     Okay.    Describe for us what the pattern
 7    was that was told to you by the 30 or so girls that
 8    you interviewed?
 9                 MR. PAGLIUCA:      Object to form and
10          foundation.
11                 THE WITNESS:      Initially, when the -- when
12          the victims would come into the home and were
13          brought upstairs to provide the massage,
14          Epstein would lay on his massage table, where
15          they would start to rub his back and the back
16          of his legs.
17                 Epstein would either attempt to fondle the
18          girls or touch the girls inappropriately, and
19          at which point he would masturbate.             And when
20          he was done, he would get up and go wash off
21          while the girls would get dressed and go back
22          downstairs and get paid.
23    BY MR. EDWARDS:
24          Q.     Okay.    So did you determine that "massage"
25    was actually a code word for something else?




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                                                                      Page 35
 1                     JOSEPH RECAREY - CONFIDENTIAL
 2                 MR. PAGLIUCA:      Object to form and
 3          foundation.
 4                 THE WITNESS:      When they went to perform a
 5          massage, it was for sexual gratification.
 6    BY MR. EDWARDS:
 7          Q.     And when the assistants would call and ask
 8    these girls to work, did you learn what the term
 9    "work" meant with respect to these girls coming to
10    the house?
11                 MR. PAGLIUCA:      Object to form and
12          foundation.
13                 THE WITNESS:      "Work" meant to come and
14          provide Epstein a massage.
15    BY MR. EDWARDS:
16          Q.     And massage -- how often would these
17    massages, based upon your investigation, turn into
18    something sexual?
19                 MR. PAGLIUCA:      Object to form and
20          foundation.
21                 THE WITNESS:      During the investigation, it
22          was determined that he would have multiple
23          massages during the day.          He would have some in
24          the morning and some in the afternoon,
25          sometimes into the evening.          So he would




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                                                                   Page 50
  1                    JOSEPH RECAREY - CONFIDENTIAL
  2    BY MR. EDWARDS:
  3          Q.    All right.
  4                And so when you went to speak with the
  5    victims, what did these victims say about their
  6    experience with Jeffrey Epstein?
  7                MR. PAGLIUCA:      Object to form and
  8          foundation.
  9                THE WITNESS:      Once they were recruited,
10           they were brought to the home.           They were to
11           provide a massage.
12                 Some of the victims did not want to be
13           touched; some of the victims did not want to
14           partake in that.       So it was -- I believe for --
15           for a couple of them it was only a one-shot
16           deal, but others continued to come.
17     BY MR. EDWARDS:
18           Q.    Okay.    And as you interviewed some of
19     those victims, did you learn that some of those
20     victims also brought additional girls?
21                 MR. PAGLIUCA:      Object to form and
22           foundation.
23                 THE WITNESS:      That's correct.
24     BY MR. EDWARDS:
25           Q.    So as you were investigating this case, as




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                                                                   Page 51
  1                    JOSEPH RECAREY - CONFIDENTIAL
  2    part of your investigation, you're learning
  3    information from these victims and then going to
  4    talk to the next person down the line, if you will?
  5                MR. PAGLIUCA:      Object to form and
  6          foundation.
  7                THE WITNESS:      Correct.
  8    BY MR. EDWARDS:
  9          Q.    And what is the purpose of that?
10           A.    To identify further victims and acquire
11     additional information.
12           Q.    And in doing that, were you able to
13     corroborate the accuracy of what the first victim
14     told you?
15                 MR. PAGLIUCA:      Object to form and
16           foundation.
17                 THE WITNESS:      Correct.
18     BY MR. EDWARDS:
19           Q.    Okay.    And did you learn of Sarah Kellen's
20     involvement with respect to the various girls?
21                 MR. PAGLIUCA:      Object to form and
22           foundation.
23                 THE WITNESS:      Yes.
24     BY MR. EDWARDS:
25           Q.    What was her role?




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                                                                   Page 90
  1                    JOSEPH RECAREY - CONFIDENTIAL
  2                MR. PAGLIUCA:      Object to form and
  3          foundation.
  4                THE WITNESS:      That is correct.
  5    BY MR. EDWARDS:
  6          Q.    And did you turn all of your files over to
  7    either the State Attorney's Office or the FBI?
  8          A.    That is correct.
  9          Q.    And through the State Attorney's Office,
10     was the information contained within the probable
11     cause affidavit and the incident reports a publicly
12     available document?
13                 MR. PAGLIUCA:      Object to form and
14           foundation.
15                 THE WITNESS:      Yes.
16     BY MR. EDWARDS:
17           Q.    And around the time of your
18     investigation -- around the time you ended your
19     investigation and thereafter, were various newspaper
20     articles written about the substance of some of your
21     investigation?
22           A.    Yes.
23           Q.    Did it become well known to the public
24     that Jeffrey Epstein had recruited high school girls
25     to his house for the purpose of some sexually




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                                                                   Page 91
  1                      JOSEPH RECAREY - CONFIDENTIAL
  2    involved massage?
  3                MR. PAGLIUCA:      Object to form and
  4          foundation.
  5                THE WITNESS:      That is correct.
  6    BY MR. EDWARDS:
  7          Q.    And, in fact, haven't you read many of
  8    these newspaper articles?
  9          A.    That is correct.
10           Q.    That was not a hidden secret from the
11     public beginning in 2006, right?
12           A.    No.
13           Q.    And from your overall investigation, kind
14     of just a big picture, what was the criminal
15     activity, as specific as you can, that you learned
16     that Jeffrey Epstein and others were involved in?
17                 MR. PAGLIUCA:      Object to form and
18           foundation.
19                 THE WITNESS:      It was sexual battery and
20           lewd and lascivious conduct for under the age
21           of 16.
22     BY MR. EDWARDS:
23           Q.    And what was the specific system of
24     engaging in this type of activity?
25                 MR. PAGLIUCA:      Object to form and




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                                                                   Page 92
  1                    JOSEPH RECAREY - CONFIDENTIAL
  2          foundation.
  3                THE WITNESS:        As to --
  4    BY MR. EDWARDS:
  5          Q.    From the recruitment to the:          How did you
  6    get them, what did you do, how did you keep it
  7    going?
  8          A.    Once the --
  9                MR. PAGLIUCA:       Object to form and
10           foundation.      Sorry.
11                 THE WITNESS:      No, no.
12                 As it became known to us that the victim
13           was recruited, brought to the home, provided
14           the massage, was paid, whether there was
15           inappropriate touching, whether there was
16           sexual activity, whether there was actually
17           intercourse, all of that was documented and was
18           asked whether they brought anyone to the home,
19           whether they had any formal training in massage
20           therapy, and once -- once additional victims
21           were identified, we continued the same -- the
22           same method of investigation.
23     BY MR. EDWARDS:
24           Q.    Okay.    And one of the earliest victims, in
25     terms of the chronology of this pyramid of girls,




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                                                                   Page 93
  1                    JOSEPH RECAREY - CONFIDENTIAL
  2    for lack a better word -- you understand what I mean
  3    by that, right?
  4                MR. PAGLIUCA:      Object to form and
  5          foundation.
  6                THE WITNESS:      Yes.
  7    BY MR. EDWARDS:
  8          Q.    That there's -- there's -- one of the
  9    earliest victims that you interviewed was Haley
10     Robson; is that right?
11                 MR. PAGLIUCA:      Object to form and
12           foundation.
13                 THE WITNESS:      It was actually SG, I think
14           was the first one that was interviewed, and
15           then HR was the one I interviewed.
16     BY MR. EDWARDS:
17           Q.    Okay.    My question was bad.
18                 I know that the first person interviewed
19     that kind of kicked off the investigation was SG,
20     but -- and just to create a picture of what we have
21     here, this is, and tell me if I characterized it
22     wrong, a scheme that Jeffrey Epstein engaged in by
23     using assistants to recruit girls, right?
24           A.    Correct.
25           Q.    Under the --




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                                                                   Page 94
  1                    JOSEPH RECAREY - CONFIDENTIAL
  2                MR. PAGLIUCA:      Object to form and
  3          foundation.
  4    BY MR. EDWARDS:
  5          Q.    Under the pretense of giving a massage?
  6                MR. PAGLIUCA:      Object to form and
  7          foundation.
  8                THE WITNESS:      Correct.     Either a message
  9          and/or become a model for Victoria's Secrets
10           and/or connections.
11     BY MR. EDWARDS:
12           Q.    And when he was able to get these girls to
13     his home, he would then offer them money to also
14     become recruiters for him?
15                 MR. PAGLIUCA:      Object to form and
16           foundation.
17                 THE WITNESS:      Correct.
18     BY MR. EDWARDS:
19           Q.    And that created this -- if you've mapped
20     it out, kind of a spider web or a pyramid of girls
21     bringing girls to Jeffrey Epstein's house?
22                 MR. PAGLIUCA:      Object to form and
23           foundation.
24     BY MR. EDWARDS:
25           Q.    Right?




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                                                                   Page 95
  1                    JOSEPH RECAREY - CONFIDENTIAL
  2          A.    Correct.
  3          Q.    All right.
  4                So when I say one of the first, I mean on
  5    the top of the pyramid one of the earliest people
  6    that you interviewed that brought girls to Jeffrey
  7    Epstein's house was HR?
  8          A.    Correct.
  9                MR. PAGLIUCA:      Object to form and
10           foundation.
11     BY MR. EDWARDS:
12           Q.    And I think that you testified that Molly
13     and Tony drove HR to Jeffrey Epstein's house the
14     first time, right?
15                 MR. PAGLIUCA:      Object to form and
16           foundation.
17                 THE WITNESS:      Correct.
18     BY MR. EDWARDS:
19           Q.    Did you ever trace all the way up to the
20     highest level to determine who was it that started
21     this particular chain of Palm Beach girls coming
22     over to Jeffrey Epstein's home?
23                 MR. PAGLIUCA:      Object to form and
24           foundation.
25                 THE WITNESS:      I did not.     Basically, when




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                                                                  Page 363
  2                                AFFIDAVIT
  3     STATE OF FLORIDA               )
        COUNTY OF                      )
  4
  5
                  I,                         , being first
  6          duly sworn, do hereby acknowledge that I did
             read a true and certified copy of my deposition
  7          which was taken in the case of GIUFFRE V.
             MAXWELL, taken on the 24th day of September,
  8          2016, and the corrections I desire to make are
             as indicated on the attached Errata Sheet.
 9
10                               CERTIFICATE
11
12     STATE OF FLORIDA               )
       COUNTY OF                      )
13
14
                  Before me personally appeared
15           ________________________________________,
             to me well known / known to me to be the
16           person described in and who executed the
             foregoing instrument and acknowledged to and
17           before me that he executed the said instrument
             in the capacity and for the purpose therein
18           expressed.
19
20                Witness my hand and official seal, this
             ______ day of ________________, _____.
21
22
23                                      __________________________
                                                (Notary Public)
24
25     My Commission Expires:




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